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                                                      ®                                                                          FOR COURT USE ONLY
                                         S U M    M       N S
                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                    (CITACIOA! Jl!®ICIAL)
NOTICE TO DEFENDANT:
(A1/1S0 AL DEMANDADO):
 PHH MORTGAGE CORPORATION; (See Suminons Additional
 Parties, Filed Concurrently)
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEIVIAiVDAMDO EL DEMAIVDAiVTE):
 CHARLOTTE JACKSON


  NOTICE! You have been sued. The court may decide against you without your being heard un!ess you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the Ca[ifornia Courts
  On!ine Self-Help Center (www.courtinfo.ca.gov/selfhelp), your courity law [ibrary, or the courthouse nearest you. If you cannot pay the f!ing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by defau!t, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referra! service. If you cannot afford an attorney, you may be eligib!e for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-He[p Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory [ien for waived fees and
  costs on any sett!ement or arbitration award of $10,000 or more in a civi[ case. The court's lien must be paid before the court wi!I dismiss the case.
 IAVISOI Lo han demandado. Si no responde dentro de 30 dias, la•corte puede decidlr en su contra sin escuchar su versibn. Lea la informacion a
 continuacion.
   Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mbs informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagarla cuota de presentaci6n, pida al secretario de la corte
 que le dd un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sueldo, dinero y bienes siri mas advertencia.
   Hay otros requisitos /ega/es. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener serviclos legales gratuitos de un
 programa de servicios lega/es sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpca!ifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 B mas de valor recibida mediante un acuerdo o una concesidn de arbitraJe en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                        CASE NUMBER:
                                                                                                             (NOmero de/ Caso):                               L: 0
(EI nombre y direcci6n de la corte es):       Tulare County Superior Court                               I                              V CU2         90$
640 S Alta Ave.
Dinuba, CA 93618
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(EI nombre, la direcci6n y elf nGmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Tony Cara, CDLG, PC, 2973 Harbor Boulevard, Suite 594 Costa Mesa, CA 92626 (888)                                                          5-6765

DATE:                                                                         Clerk, by          ~~~                  ~       ~                                 Deputy
            03/16/2022                                      Mark Dimas (Secretario)
                                                                                ,
(Fecha)                                                                                      ~   6                i       ~                                    (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use et formulario Proof of Service of Summons, (POS-010)).                                 ~~P~~Sin'IP C~t~1Pf Ot1'
                                      iVOTICE TO THE PERSON SERVED: You are served
                                      1.      as an individual defendant.
                                      2.      as the person sued under the fictitious name of (specify):

                                                                             PHH MORTGAGE CORPORATION
                                      3, ®      on behalf of (specify):

                                         under: 0         CCP 416.10 (corporation)                            0           CCP 416.60 (minor)
                                                0         CCP 416.20 (defunct corporation)                                CCP 416.70 (conservatee)
                                                0         CCP 416.40 (association or partnership) 0                       CCP 416.90 (authorized person)
                                                  0       other (specify):
                                         ~      by personal delivery on (date):
                                                                                                                                                                 Page 1 of 1
 Form Adopted for Mandatory Use                                        SUMMONS                                                         Code of Civil Procedure §§ 412.20, 465
   Judicial Council of California                                                                                                                        www.courtinfo.ca.gov
   SUM-100 [Rev. July 1, 2009!




                                                                                                                                       EXHIBIT 1
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        ".                                                                                                                     SUM-200 A
                                                                                                  cASE NUMSER:
      SHORT TITLE:
_ JACKSON v. PHH MORTGAGE CORPORATION, et al.

                                                             INSTRUCTIONS FOR USE
  ♦     This form may be used as an aftachment to any summons if space does not permit the listing of all parties on the summons.
  ♦     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form is attached."

   List additional parties (Check on/y one box. Use a separate page for each type of party.):

      F__] Plaintiff           0✓   Defendant   F-] Cross-Complainant        0     Cross-Defendant

   DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR GSAMP TRUST 2006-
   WPAC2, POOLING AND SERVICING AGREEMENT DATED AS OF NOVEMBER 1, 2006; and DOES
   1-10, inclusive,




                                                                                                                     Page           of
                                                                                                                                         Page 1 of 1
 Form Adopted for Mandatory Use
   Judiciel Council of Califomla
                                                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                     Attachment to Summons




                                                                                                                    EXHIBIT 1
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                                                                                                                                                                 CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                      FORCOURTUSEONLY
Tony Cara, SBN 170720, CDLG, PC
2973 Oarbor Boulevard, Suite 594, Costa Mesa, CA 92626 .


           TELEPHONE NO.: (888) 615-6765                       FAx No. (optionat): (888) 660-8874
     ATTORNEY FOR (Name): Plalntlff Charlotte Jackson
                                                                                                              E L EC T RO N ICAL LY F I L E D
                                                                                                                               _
                                                                                                              ~~~~rl0r             ~ourt of C~lifornia,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF TULARE
 STREET ADDRESS: 640 S Alta Ave.                                                                                         ~ Q L~ n L~ r of TuI a r~
 MAILING ADDRESS: SAME                                                      •                                                0311612022

CITY AND ZIP CODE: Dinuba , CA93618                                                                               By: Mark Dimas, Deputy Clerk
     BRANCH NAME: Maln COurthouSe

CASE NAME:
 JACKSON v. PHH MORTGAGE CORPORATION, et al.
                                                                                                              CASENUMBER:
         CIVIL CASE COVER SHEET                                    Complex Case Designation
~x        Unlimited               0       Limited              =      Counter           =       Joinder                             VCU2 90$ 60
          (Amount                         (Amount
                                                         Filed with first appearance by defendant JUDGE:
          demanded                        demanded is
                                                             (Cal. Rules of Court, rule 3.402)     DEPT.:
          exceeds $25,000)                $25,000)
                                           Items 1-6 below must be completed (see instructions on page 2).
      Check one box below for the case type that best describes this case:
     Auto Tort                                   Contract                                                 Provisionally Complex Civil Litigation
     ~     Auto (22)                            0      Breach• of contract/warranty (06)                  (Cal. Rules of Court, rutes 3.400-3.403)
     0     Uninsured motorist (46)                                  Rule 3.740 collections (09)           0      Antitrust/Trade regulation (03)
     Other PIIPD/WD (Personal InjurylProperty                       Other collections (09)                0      Construction defect (10)
     Damage/Wrongful Death) Tort                                                                          0      Mass tort (40)
                                                          0         Insurance coverage(18)
     Q       Asbestos (04)                                                                                0      Securities litigation (28)
                                                           0     Other contract (37)
     ~       Product liability (24)                                                                       ~     Environmental/Toxic tort (30)
                                                           Real Property
     ~       Medical malpractice (45)                                                                     ~     Insurance coverage claims arising from the
                                                           0        Eminent domain/Inverse
                                                                                                                above listed provisionally comp]ex case
     ~    Other PI/PDIWD (23)                                       condemnation (14)
                                                                                                                types (41)
     Non-PI/PDMID (Other) Tort                            0         Wrongful eviction (33)                Enforcement of Judgment
     ~       Business tort/unfair business practice (07) Ox Other reat property (26)                      0      Enforcement of judgment (20)
     0       Civil rights (08)                           Unlawful Detainer
                                                                                                          Miscellaneous Civil Complaint
     ~       Defamation (13)                              ~         Commercial (31)
                                                                                                          0      RICO (27)
     ~       Fraud (16)                                   ~         Residential (32)
                                                                                                          ~      Other complaint (not specified above) (42)
     0       Intellectual property (19)                   0      Drugs (38)
                                                                                                          iNiscellaneous Civil Petition
     0       Professional negligence (25)                  Judicial Review
                                                                                                          ~      Partnership and corporate governance (21)
     ~       Other non-PI/PD/WD tort (35)                 ~         Asset forfeiture (05)
                                                          ~         Petition re: arbitration award (11)   0      Other petition (not specified above) (43)
     Employment
     ~       .Wrongful termination (36)                   0         Writ of mandate (02)
     0       Other employment (15)                        0         Otherjudicial review (39)

2.  This case "       is    [ x ~ is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d. 0      Large number of witnesses
   b.        Extensive motion practice raising difficult or novel e. 0      Coordination with related actions pending in one or more'
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                     court
                                                                  f.        Substantial postjudgmentjudicial supervision
3. Remedies sought (check all that apply): a. r --y] monetary b. ®        nonmonetary; declaratory or injunctive relief c. =        punitive
4. Number of causes of action (specify): 7
5.       This case 0         is       F _x~ is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: March 16, 2022                                                                                    ~
Tony Cara, Esq.
                                                                                                                              OF PARTY OR ATTORNEY FOR


  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                Page 1 of 2

Form Adopled for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740:
Judicial Council of California                                 CIVIL CASE COVER SHEET                                      Cal. Standards of Judicial Administration, std. 3•10
CM-010 tRev. July 1, 2007]                                                                                                                                  www.couris.ca.gov




                                                                                                                                      EXHIBIT 1
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                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to fite a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          DamageNVrongful Death                        Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (ifthe                       Contract (not unlawful detaneri             Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
       motor/st claim subJect to                       Contract/Warranty Breach—Seller                  Securities Litigation (28)
       arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
       instead ofAuto)                                 Negligent Breach of ContracU                    Insurance Coverage Claims
 Other PI/PDNVD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e,g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case—Seller Plaintiff                  Abstract of Judgment (Out of
        Asbestos Personal Injury/                      Other Promissory Note/Collections                       County)
              Wrongful Death                                Case                                     Confession of Judgment (non-
     Product Liability (not asbesfos or            Insurance Coverage (not provisionally                  domestic relations)
         toxlc%nvironmental) (24)                      complex) (18)                                 Sister State Judgment
     Medical Malpractice (45)                          Auto Subrogation                              Administrative Agency Award
          Medical Malpractice—                         Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons               Other Contracl (37)                               Petition/Certification of Entry of
     Other Professional Health Care                    Contractual Fraud                                  Judgment on Unpaid Taxes
             Malpractice                               Other Contract Dispute                        Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Propery t
                                                                                                            Case
          Premises Liability (e.g., slip           Eminent Domain/lnverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                            Other Complaint (not speclfied
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)            above) (42)
          Intentional Infliction of                    Writ of Possession of Real Property
                                                                                                           Declaratory Relief Only
               Emotional Distress                      Mortgage Foreclosure
                                                                                                           Injunctive Relief Only (non-
          Negligent Infliction of                      Quiet Title                                              harassment)
                Emotional Distress                     Other Real Property (not eminent
                                                                                                           Mechanics Lien
          Other PI/PD/WD                               domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
     Business TorUUnfair Business               Unlawful Detainer
                                                                                                           Other Civil Complaint
         Practice (07)                             Commercial (31)                                              (non-torbnon-complex)
     Civil Rights (e.g., discrimination,           Residential (32)                               Miscellaneous Civil Petition
                                                   Drugs (38) (if the case involves illegal
           false arrest) (not civll                                                                  Partnership and Corporate
           harassment) (08)                        drugs, check thfs item; otherwise,                     Governance (21)
     Defamation (e.g., slander, libel)             report as Commercial or Residential)              Other Petition (not specified
                                                Judicial Review                                           above) (43)
            (13)
     Fraud (16)                                    Asset Forfeiture (05)                                  Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
                                                   Writ of Manda te (02)                                 Elder/Dependent Adult
     Professional Negligence (25)
                                                       Writ—Administrative Mandamus                            Abuse
         Legal Malpractice
                                                       Writ—Mandamus on Limited Court
         Other Professional Malpractice                                                                  Election Contest
                                                           Case Matter                                   Petition for Name Change
              (not medical or legal)
     Other Non-PI/PD/WD Tort (35)                      Writ—Other Limited Court Case                     Petition for Relief From Late
                                                           Review                                              Clalm
 Employment
                                                   Other Judicial Review (39)                             Other Civil Petition
     Wrongful Termination (36)
                                                       Review of Health Officer Order
     Other Employment (15)
                                                       Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010 tRev. July 1, 2007j                                                                                                                Page 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
This Form button after you have printed the form.            Prlrlt thlS f orm         Save ihis form                        Clear'fihis form ~



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                                            Assigned to Judic"sal C?fficer
                                             Bret D Hillman

                                             For AII Purposes
 t   CDLG, PC
     Tony Cara, Esq., SBN 170720                                             ELECTROfVICALLY FILED
 2
     2973 Harbor Boulevard, Suite 594                                        Superior Court of California,
     Costa Mesa, CA 92626-3912                                                    County of Tulare
 3
     Phone: (888) 615-6765                                                          03f lf]}2022
 4                                                                               By: hlark Dimas, Deputy Clerk
     Fax: (888) 660-8874
     Litigation.CDLG(r~gmail.coni
 5
     Attorney for Plaintiff, Charlotte Jackson                       Case Manag
                                                                              _ ement Conference
 6                                                                     CJ7/1 8/2022 Ot3:3() AM - DepatfirTient 07

 7
                         SiJPE12I0R COiJItT OF 'I'IIE STATE OF CAI.,IFGIINIA

                                            COLIIVTI' OF TiJI.ARE                         V C l.)2 90$ b 0


     CHARLOTTEJACKSON,                                     PLAINTIFF'S CONIPI.AIN'I' FOI2:

                         Plaintiff,                      _ 1. VIOI.ATION OF CIV. COI)E § 2924(a)(1);
                                                           2. VIOI,A'TION OF CIV. COI)E § 2924.9;
     V.                                                    3. \I®iEGLIGENCE;
                                                           4. WItONGF'iJL FORECI,OSi1ItE;
     PHH MORTGAGE CORPORATION;                             S. IN'I'EItPLEAI)EIt PiJRSiTANT TO C®DE
     DEUTSCHE BANK NATIONAL TRUST                             CIV.PROC. §386, CIV. CODE §§ 2924j
     COMPANY, AS TRUSTEE FOR GSAMP                            Ale1D 29249c;
     TRUST 2006-WPAC2, POOLING AND -                       6. iTNF'AIR BLISINESS PI2ACTICES,
     SERVICING AGREEMENT DATED                                VIOI.A'I'I0N OF BiJS. & PRO>F'. CODE
     AS OF NOVEMBER 1, 2006; and DOES 1-                      § 17200, ET SEQ.;
     10, inclusive,                                        7. CANCEI.LATION OF WRI'I I'EN
                                                              INSTI2i11VIENTS, CIV.CODE § 3412;
                         Defendants.
                                                           (Ai<nount in controversy Iess than $75,000)



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            COIVIES N0W plaintiff Charlotte Jackson, ("PLAINTIFF"), by and through her counsel, allege I
2s
     as follows:



                       JACKSON v. PI-Il-1 MORTGAGE CORPORATION, et al.- PLAINTIFF'S COMPLAINT




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c




                                                        PARTIES
     2           I.     PLAINTIFF is, and at all relevant times Inentioned herein were, residents of Tulare
     3   County, California, and are the rightful and lawful owners of real property commonly known as 4747
     4   W. Ashland Ave., Visalia, CA 93277, ("Subject Property"), and is her personal and principal residence.
     5          2.      Defendant PHH Mortgage Corporation, ("PHH DEFENDANT") is a corporation with its
     6   principal place of business in Mr. Laural, New Jersey. PHH DEFENDANT conducts, and at all tilnes
     7   mentioned lierein conducted, business in Tulare County, California. Its agent for service of process is
     8   Corporation Service Corporation. PHH DEFENDANT is the purported current loan servicer of the
     9   mortgage loan that is the subject of the allegations complained of herein.
    lo          3.      Defendant Deutsche Bank National Trust Colnpany, as Trustee for GSAMP Trust 2006-
    11   WPAC2, Pooling and         Servicing Agreement       Dated   as of November       1, 2006, ("GSAMP
    12   DEFENDANT") is a securitized trust with its principal place of business in West Palm Beach, Florida.
    13   GSAMP DEFENDANT conducts, and at all times mentioned herein conducted, business in Tulare
    14   County, California. Its agent for service of process is Deutsclie Bank National Trust Company.
    15   GSAMP DEFENDANT is the purported current beneficiary of the mortgage loan that is the subject of
    16   the allegations complained of herein.
    17          4.      PLAINTIFF is ignorant of the true names and capacities of Defendants DOES 1-10,
    18   inclusive, and tlierefore sues them by fictitious names. PLAINTIFF will amend tliis complaint to allege
    19   DOES' true names and capacities when they are ascertained.
    20          5.      PLAINTIFF alleges that DOES 1-10 claiin some right, title, estate, lien or interest in the
    21   Subject Property that is adverse to PLAINTIFF's owli title. Each of these claims constitutes a cloud on
    22   PLAINTIFF's title to the Subject Property frolii which they seek relief.
    23          6.      PLAINTIFF alleges that DOES 1-10 are contractually, strictly, negligently, intentionally
    24   or vicariously liable and/or otherwise legally responsible in sonie manner for each and every act,
    25   omission, obligation, event or happening set foi-th in this complaint, and that DOES 1-10 are indebted
    26   to PLAINTIFF as hereinafter alleged.
    27   //
    28   //


                                                             2

                           JACKSON v. PHH MORTGAGE CORPORATION, et al.- PLAINTIFF'S COMPLAINT




                                                                                             EXHIBIT 1
                                                                                          PAGE 6 OF 59
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i




                                             JUI2ISI)IC'I'ION AND VENUE
     2           7.      Jurisdiction of this Court arises under Cal. Const. Art. VI §10 and Code Civ.Proc.
     3   §410.10 et seq. because DEFENDANTS engaged in business in the State of California and the acts of
     4   wrongdoing alleged in this complaint occurred in California. DEFENDANTS have more than
     5   "sufficient minimum contacts" within the State of California such that this Court's exercise of personal
     6   jurisdiction over DEFENDANTS herein "does not offend the traditional notions of fair play and
     7   substantial justice." DEFENDANT'S herein purposefully directed her activities to the State of
     8   California and consummated a transaction with a resident of the State of California, such as
     9   PLAINTIFF herein. As a result, DEFENDANTS caused an event or events to occur in California, and
    lo   more particularly in Tulare County, California, out of whicll this action arises and which forms the
    11   basis of this action.
    12           8.      Venue is proper in this Court pursuant to C'ode Civ.Proc. § 392(a) because
    13   DEFENDANTS' liability to PLAINTIFF arose within the jurisdictional region of this Court. This Court
    14   has jurisdiction over the parties. PLAINTIFF is residents of Visalia, California. All DEFENDANTS
    15   regularly engage in business within Tulare County, California, and the real property is located in Tulare
    16   County, California.
    17           9.      PLAINTIFF is suing for damages that are related to violation various California statutes
    18   and the Homeowner Bill of Rights Act wherein the amount of controversy is approximately $75,000.00
    19   and/or according to proof.
    20                                GENEI2AL AND FAC'TUAL ALLEGA'I'IONS
    21           10.     PLAINTIFF alleges that on or about August 16, 2005, PLAINTIFF's obtained a
    22   mortgage loan on the Subject Property from WMC Mortgage Corp. in the amount of $317,600,
    23   memorialized by a Deed of Trust. The maturity due date is undisclosed. The Trustee is Westwood
    24   Associates. This Deed of Trust was recorded in the Tulare County, California Recorder's Office as
    25   Instrument No. 20050008741.
    26           11.     PLAINTIFF alleges that on or about August 16, 2005, PLAINTIFF's obtained a
    27   mortgage loan on the Subject Property from WMC Mortgage Corp. in the amount of $79,400,
    28   memorialized by a Deed of Trust. The maturity due date is undisclosed. The Trustee is Westwood


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     Associates. This Deed of Trust was recorded in the Tulare County, California Recorder's Office as
 2   Instrument No. 20050008742. (Exhibit "A", Deed of Trust)
 3            12.   PLAINTIFF alleges that on August 23, 2011, an Assignment of the Deed of Trust was
 4   recorded in the Tulare County, California Recorder's Office as Instrument No. 2011-0048790. This
 5   assignment purported to assign the Deed of Trust from MERS to Deutsche Bank Notional Trust
 6   Conipany as trustee under the Pooling and Servicing Agreenient dated as of November 1.2005,
 7   GSAMP Trust 2005-WMC2. (See Exhibit "B", Assignment of Deed of Trust)
 8            13.   PLAINTIFF alleges that on April 6, 2012, a Second Assignment of the Deed of Trust
 9   was recorded in the Tulare County, California Recorder's Office as Instrument No. 2032-0020978.
lo   This assignment purported to assign the Deed of Trust from WMC MORTGAGE CORPORATION to
11   GSAMP DEFENDANT. (See Exhibit "C", Assignment of Deed of Trust No. 2)
12            14.   PLAINTIFF alleges that on September 19, 2019, a Chapter 13 Bankruptcy Petition was
13   filed. On June 16, 2021, this petition was dismissed. (Exhibit "D", 15' Chapter 13 Bankruptcy
14   Petition).
15            15.   PLAINTIFF alleges that on August 27, 2021, a Chapter 13 Bankruptcy Petition was
16   filed. On December 20, 2021, this petition was dismissed. (Exhibit "E", 2nd Chapter 13 Bankruptcy
17   Petition).
18            16.   PLAINTIFF alleges that on March 22, 2021, a Notice of Default and Election to Sell
19   Under a Deed of Trust was recorded in the Tulare County, California Recorder's Office as Instrument
20   No. 2021-0019655. (See Exhibit "F", 1Votice of Default and Election to Sell LTnder a Deed of
21   Trust)
22            17.   PLAINTIFF alleges that on June 24, 2021, a Notice of Trustee's Sale was recorded in
23   the Tulare County, California Recorder's Office as Instrument No. 2021-0046405. (See Exhibit "G",
24   Notice of Trustee's Sale). The sale date was set for August 31, 2021, and was continued to January 7,
25   2022, and the Subject Property was sold on that date.
26            18.   PLAINTIFF filed for Chapter 13 Bankruptcy, and she did ask PHH DEFENDANT for a
27   modification. However, she was as told she could riot apply because she was in Bankruptcy. This is not
28   the case. She is protected along with the property under the law. PHH DEFENDANT must get approval


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     from the Bankruptcy court if they offer it to her so that the payment plan will change and be modified.
 2   This required PHH DEFENDANT has to provide the Bankruptcy Court Trustee with a new claim. The
 3   second issue is that according to a recetit decision, HBOR would not apply while the borrower is
 4   protected in the Chapter 13, Bankruptcy; but HBOR does apply if as in this case, her case was
 5   dismissed.
 6          19.    PLAINTIFF was in Chapter 13 bankruptcy when the Notice of Default was recorded on
 7   March 22, 2021 and the NTS was on June 24, 2021. PLAINTIFF missed payments around August 2021
 8   due to her mother's death, but her attorney stated that she could double up in September. PLAINTIFF
 9   was in and out of Chapter 13 Bankruptcy. The most important fact is tliat yes there is no HBOR
10   because property was protected by the bankruptcy.
11         .20.    Chapter 13 Bankruptcy case no. 21-12079 was filed August 27, 2021. This would be a
12   30-day automatic stay. On September 7, 2021, PLAINTIFF filed a Motion the extelid the Automatic
13   Stay. Looking at the docket it does not show that it was objected, denied or approved. So up until that
14   time, PLAINTIFF was protected under the 30-day automatic stay. This is very important and it will
15   connect with case number 19-13984, filed on September 19, 2021 and active until It was active and
16   was dismissed on June 16, 2021.
17          21.    PLAINTIFF was protected by the Bankruptcy Automatic Stay, so all foreclosure must
18   cease at the time of f7ling and up until case is dismissed unless DEFENDANTS have the relief of stay
19   granted. On March 26, 2021, the Bankruptcy Plan was confirmed by the Trustee, and PLAINTI.FF was
20   active. PLAINTIFF was making payments to the trustee of the Bankruptcy court. PLAINTIFF was
21   making monthly payments since at least end of 2019 and through 2020 when she had a payment plan in
22   place. PLAINTIFF was delinquent, but. PLAINTIFF'S payment was made as verified by the
23   continuance of the bankruptcy.
24          22.    We need to challenge the reinstatement amount also on the Notice of Default because
25   she was making payments via Bankruptcy trustee. This case was dismissed in December as the client's
26   mother passed away and a month later her father passed away, so PLAINTIFF was in Arkansas in
27   November 2021 to December 2021.
2s          23.    When PLAINTIFF returned, she was told by her Banla•uptcy attorney that the case was


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 1   dismissed. However, a third Bankruptcy case was filed on January 17, 2022. The servicer needs to Void
 2   out the NOD and should have reissued it. They did not do so. Second, if PHH DEFENDANT
 3   rerecorded the Notice of Default when PLAINTIFF's second case was dismissed, or after the extension
 4   was applied for by the borrower, it would have made sense to sell the Subject Property on January 7,
 5   2022. Instead, DEFENDANTS cliose not, to do this, and now the Notice of Default and Notice of
 6   Trustee's Sale are void. PLAINTIFF remains in bankruptcy.
 7           24.     PLAINTIFF alleges that GSAMP DEFENDANT failed to advise PLAINTIFF in writing
 8   within 30 days that her Deed of Trust was transferred or assigned to a third party, and that it is the new
 9   owner or assignee of the debt is illegal in violation of Title 15 U.S.C. § 1641(g).
10                                     CAiJSES ®F ACTI®1®UI2EIVIEDIES
11                                        FIRST CE1iTSE OF ACTION
12                                 VI®LATI®N OF CIV. COI)E § 2924(a)(1),
13                       LACK OF AiJTIIORITY TO FORECL®SE ®N PI2GPEIZTY
14                       (AGAIle1ST PI-III DEI+EI'Id)ANT arid GSAIVIP I)EFENI)ANT)
15           25.     PLAINTIFF re-alleges and, incorporates all preceding paragraphs as though set forth
16   fully herein.
17           26.     PLAINTIFF is the owner of the Subject Property.
18          27.      On March 22, 2021, PHH DEFENDANT and GSAMP DEFENDANT recorded a Notice
19   of Default on the Subject Property. (See Exhibit "F")
20          28.      On June 24, 2021, PHH DEFENDANT and GSAMP DEFENDANT recorded a Notice
21   of Trustee's Sale on the Subject Property. (See Exhibit "G")
22          29.      Civ.Code §2924(a)(1) requires that the trust deed beneficiary or its agent be the one that
23   authorizes the foreclosure proceeding by filing the Notice of Default and related procedures.
24          30.      PHH DEFENDANT and GSAMP DEFENDANT failed to comply with the
25   requirements of Civ.Code § 2924(a)(1) in that the Notice of Default did not include the required
26   statutory requirements: The Notice of Default is void or voidable in that the purported Trustee Western
27   Progressive, LLC failed to record a Substitution of Trustee witli the Tulare County Recorder's Office in
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 1   violation of Civ. Code §2934a(a)(1), and rendering the Notice of Default, Notice of Trustee's Sale aiid
 2   the Trustee's Deed Upon Sale re foreclosure sale void pursuant to Civ. Code §2934a(e) and 2924(a)(6).
 3             31.   Further, because PLAINTIF-F was in Bankruptcy, the Automatic Stay pursuant to Title
 4   11 U.S.C. § 362(a)(4) rendered PHH DEFENDANT and GSAMP DEFENDANT as without authority
 5 Ito foreclose.

 6             32.   PLAINTIFF has incurred damages for the improper recording of a Notice of Default as
 7   it causes immediate damage to a person's credit, causes increased emotional and mental suffering and
 8   can cause increased costs being levied based on the Notice of Default being filed which are charged to

     the loan balance.

               33.   These errors in the Notice of Default, Notice of Trustee's Sale, Trustee's Deed Upon

     Sale give this court proper grounds to vacate the faulty foreclosure procedure.

                                         SECOND CAUSE OF ACTION
13       VIOLA'TION ®F CIV.CODE ~2924.9, FAILURE 'I'O PROVIDE HOIVIE®WNER WITH
14                                     FORECLOSURE ALTERNA'TIVES
15                       (AGAINST PHH DEFENDANT ar►d GSAMP DEFENDAN'T)
16             34.   PLAINTIFF realleges and incorporate all preceding paragraphs as though set foi-th fully
17   herein.
18             35.   On March 22, 2021, PHH DEFENDANT and GSAMP DEFENDANT recorded a Notice
19   of Default on the Subject Property. (See Exhibit "F")
20             36.   PHH DEFENDANT and GSAMP DEFENDANT failed to notify PLAINTIFF of all
21   foreclosure prevention alternatives within 5 business days after Notice of Default recorded, as required
22   by Civ.Code §2924.9.

23             37.   PLAINTIFF was living in the Subject Property when the Notice of Default was
24   recorded. PLAINTIFF did not receive any phone calls or phone niessages, and did not receive any .
25   pieces of mail that referred to discussions about alternatives to foreclosure before it was commenced. If
26   PLAINTIFF did receive such contact and communication, they would have taken action to avoid the
27   foreclosure of the Subject Property with other lending sources.
2s
               38.   PLAINTIFF is entitled to an injuiiction prior to foreclosure, or civil and statutory

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          penalties post-foreclosure against PHH DEFENDANT and GSAMP DEFENDANT in an aiiiount to be
    2     proven at trial.
    3                                             TIIIRD CAUSE OF ACTION
     4                                                   NEGL,IGENCE
     5                            (AGAINST PI-III DEI+ENI)ANT and GSAIVIP DEFENI)ANT)
     6               39.     PLAINTIFF realleges and incorporate all preceding paragraphs as though set forth fully
     7   I herein.
     8               40.     Recently, Califoriiia courts have taken the position that a bank or lender may owe the
     9    borrower a duty not to act negligently in handling a loan modification application once it has
    lo    undertaken to review the application. Lueras v. BAC Home Loans Servicing LP (2013) 221 Cal. App.
    11    4`" 49, 49, 63.
    12               41.     Typically, a financial institution owes no duty of care to a borrower. Yet it may where
    13    its activities either exceed those of a conventional lender or according to a review of six non-exhaustive
    14    factors. These factors are: 1) the extent to whicli the transaction was inteiided to affect the PLAINTIFF;
    15    2) the foreseeability of harni to them; 3) the degree of certainty that the PLAINTIFF suffered injury; 4)
    16    the closeness of the connection between PHH DEFENDANT and GSAMP DEFENDANT's conduct
    17    and the injury suffered; 5) the moral blame attached to PHH DEFENDANT and GSAMP
    18    DEFENDANT's conduct; and 6) the policy of preventing future harm.
    19               42.     PLAINTIFF alleges that 'PHH DEFENDANT and GSAMP DEFENDANT were
    20    negligent in processing the loan modification application.
    21               43.     PLAINTIFF alleges that PHH DEFENDANT and GSAMP DEFENDANT breaclied
    22    their duty of ordinary care and good faith to PLAINTIFF, and their duty not to put PLAINTIFF in a
    23    worse position than when they:
    24                          a. Used a Trustee, Servicer or Beneficiary that lacked legal authority to conduct the
    25                              Trustee's Sale in violation of Civ. Code § 2924 (a)(1), Civ. Code §2934a(a)(1),
    26                              2934(a)(e) and 2924(a)(6);
    27                          b. Failed to notify PLAINTIFF of foreclosure alternatives within 5 business days
    28                              after recording a Notice of Default in violation of Civ. Code § 2924.9 and


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 1                          2923.5.
 2                      c. Violated Title 15 U.S.C. § 1641(g) by failing to contact PLAINTIFF after
 3                          recording an Assignment of the Deed of Trust and notify the that it is the new
 4                          beneficiary of the Deed of Trust.
 5          44.     Under Biakanja v. Irving, there are six (6) factors coui-ts must analyze in determining
 6   whether a lender or servicer owes the borrower a duty of care: (1) the extent to which the transaction
 7   was intended to affect the PLAINTIFF; (2) the foreseeability of harm to him; (3) the degree of cei-tainty
 8   that the PLAINTIFF      suffered injury; (4) the closeness of the connection between the defendant's
 9   conduct and the injury suffered; (5) the moral blame attached.to the defendant's conduct; and (6) the
10   policy of preventing future harm. Biakanja, 49 Cal.2d at 650.
11          45.     PHH DEFENDANT and GSAMP DEFENDANT owed PLAINTIFF a duty of care as
12   her activities exceeded the traditional scope of conventional mone ~ding,
                                                                         le             PHH DEFENDANT and
13   GSAMP DEFENDANT's activities exceeded this scope when they undertook to review PLAINTIFF
14   for modification assistance.
15          46.     PHH DEFENDANT and GSAMP DEFENDANT's breaches are the actuad and
16   proximate cause of PLAINTIFF's damages because, but for her breaches, PLAINTIFF would not have
17   lost her home. As a consequence of PHH DEFENDANT and GSAMP DEFENDANT's practice in this
18   regard, PLAINTIFF suffered damages by (1) spending numerous hours and resources in providing
19   them with updated financial documents; (2) loss of income due to borrowers' loss of hours at work in
20   order to facilitate PHH DEFENDANT and GSAMP DEFENDANT's repetitive request for unnecessary
21   documelits; (3) incurred additional and ulinecessary late penalties on top of the default servicilig which
22   included the recording of the Notice of Sale; (4) damaged her credit reports in the process; and (5)
23   higher arrears that is no longer affordable to PLAINTIFF.
24          47.     PLAINTIFF demand restitution damages in an amount to be determined at trial and to
25   disgorge PHH DEFENDANT and GSAMP DEFENDANT's profits. PLAINTIFF incurred copying
26   and faxing costs and attorney fees in the loan modification application process.
27   //

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                                         FOURTH CAUSE OF ACTION
 2                                       WRONGFUL FORECLOSURE
 3                           (AGAINST PHH DEFENDANT and GSAMP DEFENDANT)
 4             48.   PLAINTIFF realleges alid incorporate all preceding paragraphs as though set forth fully
 5   herein.
 6             49.   On January 7, 2022, PHH DEFENDANT and GSAMP DEFENDANT wrongfully
 7   foreclosed on the Subject Property based upon violations of Civ.Code §2924(a)(1), 2934a(a)(1),
 8   2924a(e) and 2924(a)(6) and 2924.9. They further violated the Chapter 13 bankruptcy Stay pursuant to
 9             50.
10             51.   PHH DEFENDANT and GSAMP DEFENDANT caused an illegal, fraudulent, or
11   willfully oppressive sale of the Subject Property pursuant to a power of sale in a mortgage or deed of
12   trust;
13             52.   PLAINTIFF suffered prejudice or harm as a result of the wrongful foreclosure trustee
14   sale.
15             53.   PLAINTIFF is excused from the tender requirement because of PHH DEFENDANT and
16   GSAMP DEFENDANT's violations of Civ.Code §2924(a)(1), 2934a(a)(1), 2924a(e) and 2924(a)(6)
17   and 2924.9.
18             54.   PLAINTIFF is entitled to monetary damages for the loss of the Subject Property and her
19   investment in it.
20             55.   PLAINTIFF is entitled.to have the wrongful foreclosure vacated, and have the Trustee's
21   Deed Upon Sale, Notice of Default and Notice of Trustee's Sale cancelled.
22             56.   PLAINTIFF is entitled to punitive damages for wrongful foreclosure. See Kachlon v.
23   Markowitz (2008) 168 Ca1.App.4th 316, 345. The managing agents of PHH DEFENDANT and
24   GSAMP DEFENDANT were responsible for setting her illegal and unauthorized foreclosure and
25   related tort actions.
26                                        FIFTH CAUSE OF ACTION
27    INTERPLEADER PURSUANT TO CODE CIV.PROC. §386, CIV. CODE                            2924i AND 2924k
28                       (AGAINST PHH DEFENDANT and GSAIVIP DEFENDANT)


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1                57.   PLAINTIFF realleges and incorporate all preceding paragraphs as though set forth
2     fully herein.
3                58.   On January 7, 2022, PHH DEFENDANT and GSAMP DEFENDANT foreclosed on the
4 I   Subject Property and recorded a Trustee's Deed Upon Sale.
5                59,   PHH DEFENDANT and GSAMP DEFENDANT had a duty to return to PLAINTIFF all
6     surplus money from the Trustee Sale dated PHH DEFENDANT and GSAMP DEFENDANT, and
7     pursuant to and pursuant to Code Civ.Proc. §386, Civ.Code §§ 2924j and §2924k.
8                60.   The debt or duty is claimed by both or all the parties against whom the relief is
9     detnanded by PHH DEFENDANT and GSAMP DEFENDANT and PLAINTIFF.
lo               61.   All of the adverse titles or claims are dependent, or be derived from a common source of

11    the proceeds of a trustee's sale under the Deed of Trust.
12               62.   PLAINTIFF no longer have any interest in the subject matter.
13               63.   PLAINTIFF currently have no independent liability to PHH DEFENDANT and

14    GSAMP DEFENDANT.

15               64.   PHH DEFENDANT and GSAMP DEFENDANT are in possession of surplus funds

16    from the trustee's sale of the Subject Property totaling an amount to be determined at trial.

17               65.   PHH DEFENDANT and GSAMP DEFENDANT failed to distribute surplus funds after

18    the Trustee's Sale of the Subject Property to PLAINTIFF.

19               66.   PLAINTIFF ask this court to intervene by way of interpleader and determine that he is

20    entitled to all surplus funds from the trustee's sale of tlie Subject Property pursuant to Code Civ.Proc.

21    §386.

22                                          SIXTH CAIJSE OE ACTIOI®'

23      iTNP'AII2 BIJSIPiESS PRACTICES, VIOLATI0N OF Bi1S. & PROF.COI)E §fl7200, ET SEQ.

24                         (AGAINST PHH DEI+ENDANT and GSAIVIP I)EFENDANT)

25               67.   PLAINTIFF realleges and incorporate all preceding paragraphs as tliougli set forth fully

26    1lerein.

27               68.   PHH DEFENDANT is engaged in the business of lending money for real property

28    purchases and selling mortgages/deed of trust as secured loans, and or servicing those loans.




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 1           69.      GSAMP DEFENDANT is engaged in the business of securitized, real estate investment
 2   trust on Wall Street, New York City, New York.
 3           70.      PLAINTIFF alleges that PHH DEFENDANT and GSAMP DEFENDANT violated Bus.
 4   & Prof. Code §§ 17200, et seq., by engaging in unlawful, unfair, and fraudulent business practices as
 5   alleged above.
 6           71.      PLAINTIFF alleges that PHH DEFENDANT and GSAMP DEFENDANT violated the
 7   "unfair," "unlawful," and "fraudulent" prongs of the UCL resulting in injury and economic loss to
 8   PLAINTIFF when they purposely violated Civ. Code §§2924(a)(1), and 2924.9.
 9           72.      GSAMP DEFENDANT's business practices of failing to advise homeowners in writing
10   within 30 days that her Deed of Trust was transferred or assigned to a third party, and that it is the new
11   owner or assignee of the debt is illegal in violation of Title 15 U.S.C. § 1641(g).
12          73.       These acts and niore are unlawful and unfair conduct has caused substantial harm to
13   PLAINTIFF and the California citizenry at large.
14          74.       A borrower may bring an unfair claim per the statute by alleging that a servicer's
15   statements or conduct was misleading.
16          75.       In the present case, the inforination provided to PLAINTIFF was cel-tainly misleading
17   and not consistent as to the status of the loan modification and what she was supposed to do to satisfy
18   the lender's demands.
19          76.       PLAINTIFF has suffered an actual, pecuniary injury of the loss of the equity in tlle value
20   of the Subject Property, and the costs of seeking a remedy for PHH DEFENDANT and GSAMP
21   DEFENDANT's wrongful actions.
22          77.       Under the three-factor analysis test found in Zuniga v. Bank ofAmerica, N.A., 2014 WL
23   7156403 (C.D. Cal. Dec. 9, 2014), PLAINTIFF has stated a viable UCL claim.
24          78.       PLAINTIFF demand restitution, and that PHH DEFENDANT and GSAMP
25   DEFENDANT disgorge their illicit profits and that PLAINTIFF receive all monetary awards
26   statutorily due to them.
27   //
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 t                                         SEVENTH CAUSE OF ACTION
 2                     CANCELLATION OF WRITTEN INSTRUMENTS, CIV. CODE § 3412
 3                          (AGAINST PHH DEFENDANT and GSAMP DEFENDANT)
 4             79.      PLAINTIFF realleges and incorporate by reference all proceeding paragraphs as though
 5     fully set forth herein.
 6             80.      Pursuant to Civ.Code §2924a(a)(1), any party that is substituted in as Trustee must
 7     record a substitution of trustee with the local county recorder's office, and if violated, renders the
 8     foreclosure sale void pursuant to Civ. Code §2934a(e) and 2924(a)(6).
 9             81.      Further, because PLAINTIFF was in Bankruptcy, the Automatic Stay pursuant to Title
lo     11 U.S.C. § 362(a)(4) rendered PHH DEFENDANT and GSAMP DEFENDANT as without authority
11     to foreclose.
12             82.      PLAINTIFF has a reasonable belief that the Notice of Default, instrument no. 2021-
13     0019655 and Notice of Trustee's Sale, instrument no. 2021-0046405 are voidable or void ab initio.
14     (Exhibits "F" and "G")
15             83.      PLAINTIFF has a reasonable apprehension that if these voidable or void ab initio
16     recorded written instruments are left outstanding, they may cause serious iiijury to PLAINTIFF because
17     of her violations of Civ. Code §§2924(a)(1), 2934a(a)(1), 2924a(e) and .2924(a)(6) and 2924.9.
18             84.      PLAINTIFF seeks to cancel the hereinabove written instruments pursuant to Civ.Code
19 I   §3412 due to her being voidable or void, clouds on title and wrongfully recorded.
20                                              PRAI'ER FOR RELIEF
21             WHEREFORE, PLAINTIFF pray for judgment in her favor and against DEFENDANTS and
22     each of them as follows:
23             1.       For compensatory, special and general damages in an amount subject to proof at trial;
24             2.       For restitution and the disgorgement of profits;
25             3.       For an injunction cancelling the void or voidable written instruments;
26             4.       For an injunction vacating the wrongful foreclosure;
27             5.       For the disbursement of all surplus funds from the Trustee's Sale;
28             6.       For punitive damages for wrongful foreclosure;


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 1         7.    For reasonable costs of suit pursuant to Code Civ.Proc. § 1032;
 2         8.    For recompense of damages and arrears; and
 3         9.    For any other relief as it may deem just and proper.
 4   DATED: March 16, 2022             CDLG, PC
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                                                       Tony Cara, Esq.,
 8                                                     Attorney for Plaintiff, Cllarlotte Jackson
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     EXIII                    B
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                                   41             Nqotion/Applire6on to Vctilu,: Collderal of Carronz Aruainrae Service-a, Li,C [SpB-2] Filed by Debtor d,ludia
     01/2@J2020                    (2 pga)        Jamea Allen, Joint Debtor Cla=lotto Yeette JacY.aaa (mpem) (Enberet- 01/29/2020)

                                   4AZ            Nctice of FIearing lta: !U Motion/Application to Value Collatnal of Cm=x .Busig;;Da S-rvica,a, LLC (Bl?&
                                   (2 pgu)        2] to be held on 2/2,N2020 at 10:00 A1Vi at lPreano Courtroom 11, Dapealsnant A. (.aperax) (Entmoai:
I 01/2fiJ2020                                     01/29r,020)

                                   ~              DecLqsnetion of Charlotte JackeFaa in snpport of 41Motion/Agplication to Value Collateral of Cemmaa
     01/28/;t020                   (2 pga)        BasWr,cu Services, I.L.tr [HPB-2] (mPi;m) ($nterad: 01/29/2020)

                                   AZ             CercificatelProof of Service of 4,1 flRotion/Application to Valu,^. Collatersl of Cannax auainexa 5arvicea,
     Ol/2gJ2020                    (S P/qc}       LLC [F.ifi-2], !#-$ A7atice of ;ke.naing, !U
                                                                                             . Lt"lar^ation, 4§ Brhibtt(a) (mp-=) (Eatered: Ol/29!'2020)

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     01/29/2020                    (17pgr,)       [EP&21(mpom) (Pz.cemd: 01/29/2.020)

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     01/30/2020                    (B pge)    ~ Amcndod Stntetnent of Financial Affaira lnd9vidnnl(mpem) (Eutererl: 01/31/2020)
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~                                  42         J Ccrtifioato/Pivof of gervios of ~'~', SumJiury/Sc:hedW,^.(s)/3btcmant of Pinancial Affaira/Dieolosuro (mpem)
     01/30/2020                    (2 pga)      (Enterod; 01/31/'2020)

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     02lOM2020                     (2 pgn)        Deelaratiou of &io E BeeemillA Ro: AI OMweition [BPE-I] (iagem) ($ntca-ad: 02/05/2020)

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     02/04/2020                    (2 pga)    ~ CatificateProof of Sczvfca of SQ Decte:ation [HPB-1] (mprm) (Eateed: 02/OS/2020)
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                                   U              ippoeition/Objection Ffled by Truatce Michasl Ii. Meyar Re: _43 Motion/Appliention to Va[ue CoUoternl of
     02/10/2020                    (2 pge)        Camasx Hueiaeee Sarvises, I.I.0 [1?PU2] (mpem) (Entered: 02/11/2020)

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     02110/2020                    (2 pge)        CertdficatrJPraof of Ser.rice of 52 Oppoeition/Objeotion [BPU2] (mpanl) (Entured: 02/11r020)

                                   5A             Am,ended Motion/A,iplication Sv Vsslue Coilatcral of Cstmaa Buaineae Serviccc, LLC [EPE-2]. 41
                     ~             (9. pgs)       Motion/Applicatfon to Value Coilat,eral Filed by Debtor Cutia Jamea Allen, Joint Debtor Chsriotto'Yvatto
     02111/7020      ~                            Jackson (nipem) (Entered: 02/12/2020)

                                              ; Hearing P.o: 5A Ameoded Motior./AppiicFation to YaUto Collateral of C'a~rmsLc Dt~ciaese Scii;ces, L.LC
                                              ([7?P&2], co be helc! on 2126/2020 at 10:00 AM at Fmm Courttvom 11, Drparinient A. (mpsm) (Entered:
     02IJ1/2020                               ~f 02/12/2020)


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     02/11/7020                    (5 pgu)        Servim, LLC [BF°E-2]. (mperr,) (Bntered: 02/12/2020)

                                   ;K             Ciei'1 MiAinz6 -- Hea3ting condutasd Re; ;U Motion/Application to CQnfimi Canpte.r 13 Plan [EFF&1];
                                   (1 pa)         Ideariug tD ba bald cra 3111/2020 at 03:001'M at Freano Coustroom 11, Department A. (ltrf) (Butered:
     02/20/2020                               ( 02/26/2020)

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     02/20020                      (2 pge)    I to Value Collatcrr-i of Camaax Buainaes Sgrvleea, LLC [EPF-2]. (adtnin) (Entared: 42P27/2020)


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      02./28/202.0                                Ordsv ~t'irantanpl ,% Motion/Applicatim 1b VEala¢ Callateral of CsmwLr Businers Servicer, LLC [EPG2] ;
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      03/11/2020                 (1 pg)          Confum Chapter 13 Plcn [SPE-1] (admin) (IIatcar.d: 03/16/2020)

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     06/30/2020                                  to Jndge Jennifer E. Niamenn (sdmin) (Entamd: 000/2020)

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     07/02/2020                  (3 pge)         trarfsmitbed to BNC for sorvice.. (Ymaon, Ciady) (Etttewd: 07/02/2020)

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     07/OM2020                   (4 pga)         Plan Paymeats aa pravided by the Banhroptcy Pdodsing Coata (Admin.) (Fntmd: 07/0412020)

                                 fi$             MotiavaJtapplication to Modify Chupt^.r 13 Pt^m [EPE-3] Filed by Debtor C1utis James Allcn, Joint Debtnr
     07/31/2020                  (2 pga)         Chadotte Yvctte Jaalccun (mpem) (Enm4- 08/03/2020)

                                 ¢4              Noticc of Hcaring R.e: ¢$ Motifln/Applieatian tv Mosiify C2mptce 13 Plsn (EFS-3] to bo held an 9/172=0
     07/3112020                  (2 pgs)         at 09:30 AM at Freana Coiutxc4m 11, Depr.rtasent A. (mp=) (En^u;r~,~d: O8/03/'2020).

                                 22              Memotandnm of Poiuts and Authoritieu in st,-pport of         Motion/Aoplia:ation to ~V'iadifj C'uaptcr 13 Plnn
     07,"31/2020                 (3 p;a)         [$PE-3] (tepan) (Bntet-ed: 0$ /u3t2020)

                                                 Docloration of Cu4ic Allon in eappott of fia Motdon/Application to Modify Clqtwr 13 Plan [EPE-31
     07l31/2020                  (2 pgs)         (mpem) (Entered: 08/03/2020)

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     07/31/2020                  (2pga)          (mponn) (Entcrcd: 08/03/2020)

                                 7~              Amsndes#/Modifir.d Plan Re: 0 Motion/Appiichtion to Modify Chapta 13 Plsn [EPE-3] Filed by I?ebtor
     07/31/2020                  (7 pgs)         Curtis Jatnes Allcq Jo:ut 1?ebtor Cheslotah lTvettc Jocckaon (mpern) (Entececl: 003,2020)

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     07131/2020      ~                           Amev.d^.,dlModifled Plau (sopiaw) (Entcrnd: 08/03/2020)
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     08/31/2020                 (2 pge)          (Entered: 08/12/2020)

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     08/21/2020                 (2 pge)         Mcyer (Rob%% Elizebeth) (Bnbercd: 08/21/2020)

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     08/21/20a0                 (2 pge)         (Enteced: 08/21/2020)

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    09/02/2020                      72             Notice af Vyitfiarawal [EPE-3] Re: 2Z Oppvaition (trsgem) (Bntered: 09/02/2020)
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    09/1712020                      (2 pge)       ChapUer 13 Plan [EPE-3] (a.rinnin) (Entered: 09/17/2020)

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   02l06P2021                      (4 pga)        Plnn Pc.yYneats aa provided b;r the Bsnlatimtcy Noticisg Csntu (Adrnin.) (BotereA: 07J0G0-021)

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   05107/2021                      (4 pgn) -~ Plen?aymeuto as provided by tbe Bunlauptcy l+Totieing Cer<tpr (Adinin.) (Fatered: 05/07/2021)

                      1            $$             T)eclaretion of Kitn Ashworth in support of Propoa-A Ordr,r Re: $7 Notice of Dofoult and
                      ~            (2 pgs)        Motfosd?t.ppticatian to Diemise Cane for Failtfrc io Mc+ke Plen Payascate as trnnsmitied to BNC for ecrvir
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        09/07/2021                  (31Sgs)      D©btor Curtis Jarnee Atlen ('jbrffi} (3nmred: 09/08/2021)

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                                   (2 pga)      BNC f'or eervIoc. Msetiag of Creditorn to ba held on 10/5/202I at I 1:00 AM, aoe Noiee for Locasicn of
        09/10/2021                              Mw&g. Proofa ofCiainn due by 11/5/2021. (OVm, Lindgcy) (Eutszed: 09/10/2021)

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        09112/2021                 (9 pgo)      (8ntered: 09/12/2021) .

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 3/11/22, 8:18 AM                                                        CMIECF LIVE - U.S. 9ankruptcy Courtcceob
   09/24/2021                    21                  Order Granting Q Motion to Extend Automatic Stay [TCS-1] (]brm) (Enbered: 09/24/2021)
                                 (1 pg)

                                                     Repoit of'hustee at 341(a) Meeting. The Sec. 341(a) m®edng waa adjoumed on 10/5/21. Dabtor Did Not
                                                     Appear; Joint Debtor Did Not Appear, Counsel Did Not Appear; Continued Meeting of Cceditm to be
                                                     held on 10/19/2021 at 02:00 PM at http://wwev.m®yerl3.com/ or call Truatees of#ice (559) 275-9512 for
   10/05/2021                                        insluetions to appcar. (Ware, Lindeey) (Entered: 10/05/2021)
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                                                     Report of Trustee at 341 Meet.ing. The 341 MeetIng was held on 10/19/2021. Debtor Appe®red; Joint
                                                     Debtor Appaareal; Appearance Counsel Nancy Klepac sppesred. 341 Meeting Concluded as to Debtor and
   10/20/2021                                        Joint Debtor. (Meyer, Micha®1) (Enterod: 10/20/2021)

                                 2A                  Motion/Application to Dismi®s Casa [MFIIVlml] Filed by Ttvstee Michael H. Meyer (jbrm) (P.ntered:
   11/16/2021                    (1 pg)              11/16/2021)

                                 ~                   Notice of FIearfng Re: 2A Motion/Application to Dismiss Case [MHM-1] to be hold on 12/15/2021 at 09:30
   11/16/2021                    (2 pge)             AM at Fmsno Courtroozn 13, Deparhnent B. V'bim) (Entered: 11/16/2021)

                                 2A                  Declaiation of Elizabeth Roberts in aupport of 2¢ Motion/Application to Dismis® Case RAHM-1] (jbffi)
   11/16/2021                    (2 pg6)             (Lntered: 11/16/2021)

                                 23                  Certificate/Pmof of Servioe of 2A Motion/Application to Diamisa Cauae [MII32fd-1 ], 21Notice of He®ring, 2fl
   11/16/2021                    (3 pgs)             Daclamiion (jbrm) (Entered:ll/16/2021)

                                 Z$                  Notice of Int,ont to Close Chapter 13 Cas® Without Bntry of Discharg® Dne to Faihre to File Finnncial
   11/20/2021                    (2 pgs)             Management Course CerliScate as Transmitted to BNC for Service. (Auto) (Eutered: 11/20/2021)

                                 22                  Certificate of Mailing o£Notice of lntent to Close Chnpter 13 Caac Without Entry of Discharge Due to
                                 (3 pgs)             Failure to File Financiml Manageanent Couzso Certificate as provided by tlie BanlQnptcy Noticing Center
   11,"l4/2021                                       (Admin.) (Entered: 11/24/2021)
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                                 IQ                  Civii Minutes -- J2otion Granted, Reaolved tvithout Qral Argument Re: 2.1- Motion/Application to Dismi®s
   12/15/2021                    (2 pgs)             Caso [MHvI-1] (auto) (Entered: 12/17/2021)

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                                 ~              ( Notice of Entry of Order as Transmitted to BNC for Servioe Re: 31 Order Crdnting 2A Motion/Application
   12(20/2021                    (1 pg)         ~ to Diemise Case [M1i1Vi-1] U'brm) (jbrm) (Entered: 12/20/2021)

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 W No.: 2021-00110-CA

                  NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
                                 DEED OF TRUST

  Upon your written r+equest, tLe beneficiary or mortgagee wiU giae you awritten ftemir.ation of tbe
  entire amount you must pay. You may not have to pay the entire unpaid portion of your account, even
  though full payment was demanded, but you must pay sU amounts in default at the time payment is
  made. However, you and your beneficiary or mortgagee may mutuaily agree in wrjting prioP to the
  time the notice of sale is poated (which may not be earlier than three months atter this notict of
  default is recorded) to, amomg other thingsu (1) provide additional time in which to cur+e the default by
  transfer of the property or otherwise; or (2) estRblith ascheduk  le of payments in order to cure your
  default; or both (1) and (2).
  Following the e:piration of the time period referred to in the first paragrap4 of thil notice, unims the
  obligation being forecloeed upon or a separAte written agreement between you end our creditor
  permits a longer period, you have only the l~l right to stop the ®ale of yoer property ~y paying the
  entirre amount demanded by your creditor.

  1b find out the amount you must pay, or to arrnnge for payment to stop the foreclosure, or if your
  property is in tbrectosure fbr any other rcason, coatact:

  Deutsche Bank Nstional 1lrnst Company, as TY:uutee for GSAMP'ilrust Z005-WMCZ, Ey PHH
  Mortgage Corporation its attorne.ry► in-fact

                                     C/O Weatern Progressive, LLC
                                        Northpark Tbwn Center
                               1000 Abernathy Rd NE; Bldg 400, Suite 200
                                           Atlanta, GA 30328
                                      Servicer Phone: 077-744-25®8

  If you have any questions, you should contact a: lawyer or tt:e governmental agency which may hnve
  fnsured your lonn.
  Notwithstanding the bct that your property ia iu forecclosure, you may ofler your property for sale
  prvvided the sale u concluded prjor to the conclusion of the forectotare.
  Remember, YOU MAY LOSE LEGAL RIGHTS IF YOU DO NOT TAKE PROMFT
  ACTION.
  NOTICE IS REREBY GIVEN: That Western Progressive, LLC is either the original trustee, the duly
  appointed subatituted trurtee, or acting as agent for the trustee or benef:ciary under a Deed of 1~ust
  dated OfJ08J200S, executed by, CHARLOTTE JACKSON, A MARYtIED WOMAN, AS HER SOLE
  AND SEPARATE PROPERTY, aa 'Itiwtor, to secur+e certain obligations in favor of WMC
  MORTGAGE CORP AS LENDER MORTGAGE ELECTRONIC REGISTRATION sYSTEMS,
  IIVC. AS BENEFICIARY

 ., recorded 00/16/2005 , as Instrument No. 2005-0088741, in Book ---, Page —, of Of1'icial Records in
 the Oi1Zce of the Recorder of Ttilar+e County, Californbt describing land therein as: A® more
 particulariy described on said Deed of Trus1:


Veasion 1,1(:A NOD 0219                                                                       Page 2 of 3




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